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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

TIMOTHY CURTIS,                             :   CIVIL ACTION NO. 1:18-CV-2369
                                            :
                     Plaintiff              :   (Judge Conner)
                                            :
               v.                           :
                                            :
SPRING CREEK SNF, LLC,                      :
                                            :
                     Defendant              :

                                        ORDER

      AND NOW, this 25th day of September, 2020, upon consideration of the

motion (Doc. 16) for summary judgment by Spring Creek SNF, LLC, and the

parties’ respective briefs in support of and opposition to said motion, and for the

reasons set forth in the accompanying memorandum, it is hereby ORDERED that:

      1.       The motion (Doc. 16) for summary judgment is GRANTED.

      2.       The Clerk of Court is directed to enter judgment in favor of Spring
               Creek SNF, LLC, on all counts.

      3.       The Clerk of Court is further directed to CLOSE this case.



                                         /S/ CHRISTOPHER C. CONNER
                                         Christopher C. Conner
                                         United States District Judge
                                         Middle District of Pennsylvania
